       Case 3:18-cv-01477-JR    Document 319    Filed 12/19/22    Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF OREGON
                         PORTLAND DIVISION


KELLY CAHILL, et al., individually and             Case No. 3:18-cv-01477-JR
and on behalf of other similarly situated,

            Plaintiffs,

      v.

NIKE, INC., an Oregon Corporation

            Defendants.




    NOTICE OF SUBSTITUTION OF COUNSEL FOR INTERVENORS

      The Clerk of the Court will please enter the appearance of Tim Volpert as

counsel of record for the non-party intervenors in the above-captioned case and

remove Ellen Osoinach as counsel for the non-party intervenors.

Dated: December 19, 2022

                                             Respectfully submitted,

                                             /s/ Tim Volpert
                                             Timothy Volpert
                                             OR Bar No. 814074
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                                         1
Case 3:18-cv-01477-JR   Document 319   Filed 12/19/22   Page 2 of 2




                                   Counsel of Record for Intervenors




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